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                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA
                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

ROBERT LARUE, an individual;                 )
GINGER LARUE, an individual;                 )
                                             )
       Plaintiff                             )
                                             )
v.                                           )       NO:           _____________
                                             )
MCCORQUODALE TRANSFER,                       )
INC., a corporation;                         )

       Defendant.

                                             COMPLAINT

                                                 PARTIES

       1.      Plaintiff, Richard LaRue, is an individual over the age of nineteen (19) and is a resident-

citizen of Birmingham, Alabama.

       2.      Plaintiff, Ginger LaRue, is an individual over the age of nineteen (19) and is a resident-

citizen of Birmingham, Alabama.

       3.      McCorquodale Transfer, Inc., is a corporation and common carrier whose principal

address and registered agent are both located in Birmingham, Alabama.

                                   JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action pursuant to 49 U.S.C.S. § 14706(a)(1)

because the facts of this case encompass the shipment of and damage to goods in interstate commerce

via motor carrier.

       5.      Venue is proper in this Court pursuant to 49 U.S.C.S. § 14706(d)(2) because the loss or

damage to the goods in question is alleged to have occurred in this judicial district and is alleged to

have been caused by the carrier named as Defendant in this action.

                                     FACTUAL BACKGROUND

       6.      Plaintiffs entered into an agreement with Defendant, a motor carrier, for the transport of
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several household goods from Lenoir City, Tennessee, to Birmingham, Alabama. These goods were

comprised of several old, expensive pieces of antique furniture.

       7.      Upon entering into the agreement with Defendant for transport of said goods, Plaintiff,

Ginger LaRue, executed a Bill of Lading. Said Bill of Lading contained the below clause:




       8.      Prior to hiring Defendant and execution of said Bill of Lading, Defendant did not

explain the terms of said document other than that the goods in question would be transported from

Lenoir City, Tennessee, to Birmingham, Alabama. Furthermore, at the time Plaintiff, Ginger LaRue

executed said Bill of Lading, the line on which “$.60/lb” is written, as shown in paragraph seven (7),

above, was blank. Defendant did not explain the above clause or the rest of the Bill of Lading to

Plaintiffs in any detail, Defendant did not disclose that it intended to add a “$.60/lb” (sixty cents per

pound) limitation to the clause following execution of the Bill of Lading as depicted in paragraph seven

(7), above, nor did Defendant offer any liability protection options for Plaintiffs to choose from.

Defendant also did not disclose any limitations on its liability should it damage the goods in question.

Plaintiff, Ginger LaRue, did not write anything else on the Bill of Lading except her signature.

       9.      Importantly, Plaintiff, Ginger LaRue, did not write “$.60/lb” on the provided line, as

required by the Bill of Lading’s own terms.

       10.     Had this information been provided to Plaintiffs, they would not have agreed to

transportation of the goods in question by Defendant, nor would Plaintiff, Ginger LaRue, have

executed the Bill of Lading.

       11.     On November 30, 2020, Defendant took possession of the household goods in question.

At the time Defendant took possession of said goods, the goods were in good condition.
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       12.     On December 1, 2020, Defendant delivered the goods in question to Birmingham,

Alabama.

       13.     Upon delivery and inspection by Plaintiffs, Plaintiffs discovered that the goods in

question had been damaged; specifically, fifteen (15) items were broken, missing parts, chipped, split,

and/or torn or otherwise diminished in value or damaged beyond repair.

       14.     As a result of the damage to the goods in question, said goods suffered a loss of value

and/or were deemed a total loss.

       15.     The amount of damage sustained to the goods in question while in possession of

       Defendant and/or during transport totals $70,245.00.

       16.     The Plaintiffs filed their claim with Defendant in August 2021, within nine (9) months

of the damages alleged in this action.

       17.     Defendant denied the Plaintiffs’ claim on August 30, 2021.

       18.     This action is being brought within two (2) years of the damage to the goods, as

delineated herein, and disallowance of Plaintiffs’ claim by Defendant.

                                                COUNT I

                              VIOLATION OF 49 U.S.C.S. § 14706(a)(1)

       19.      Plaintiffs adopt and incorporate each and every allegation and averment set forth in the

foregoing paragraphs of this Complaint, as if they are fully set forth herein.

       20.      Plaintiffs allege that they entered into an agreement with Defendant, a motor carrier, for

the shipment of several goods from Lenoir City, Tennessee, to Birmingham, Alabama.

       21.      The goods in question were provided to Defendant for shipment in good condition.

       22.      Following shipment by Defendant and arrival of the goods in Birmingham, Alabama,

Plaintiffs discovered that several of the items were damaged, some beyond repair, as set forth in

paragraphs thirteen (13) through fifteen (15), above.

       23.      The total amount of the damage to and/or loss of these goods is $70,245.00.
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       24.      As set forth in paragraph sixteen (16), above, the Plaintiffs filed their claim with

Defendant in August 2021, within nine (9) months of the damages alleged in this action, as required by

49 U.S.C.S. § 14706(e)(1).

       25.     As set forth in in paragraph eighteen (18), above, the instant action is being brought

within two (2) years of disallowance of the claim by Defendant, as required by 49 U.S.C.S. §

14706(e)(1) and 49 U.S.C.S. § 14706(e)(2)(B).

       WHEREFORE PREMISES CONSIDERED, Plaintiffs demand judgment against the

Defendant in the principle sum of Seventy Thousand, Two-Hundred Forty-Five dollars ($70,245.00).

Plaintiffs also request such additional and appropriate relief which they are entitled.

                                               COUNT II

                                                 FRAUD

       26.       Plaintiffs adopt and incorporate each and every allegation and averment set forth in the

foregoing paragraphs of this Complaint, as if they are fully set forth herein.

       27.       Plaintiffs allege that Defendant made material misrepresentations regarding the

agreement between the parties made the basis of this suit.

       27.       Plaintiffs relied, to their detriment, on said misrepresentations when entering into the

agreement with Defendant made the basis of this suit and, more specifically, when Plaintiff, Ginger

LaRue executed the Bill of Lading.

       29.       Defendant knew, or should have known, that Plaintiffs would rely on said material

misrepresentations to their detriment when deciding to enter into the agreement with Defendant and/or

execute the Bill of Lading.

       30.       As a result of said detrimental reliance on Defendant’s material misrepresentations,

Plaintiffs suffered damages to the goods transported by Defendant, as set forth in paragraphs thirteen

(13) through fifteen (15), above.

       31.      As set forth in paragraph eighteen (18), above, the instant action is being brought
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within two (2) years of the actions alleged herein.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs demand judgment against the

Defendant in the principle sum of Seventy Thousand, Two-Hundred Forty-Five dollars ($70,245.00).

Plaintiffs also request such additional and appropriate relief which they are entitled.

                                               COUNT III

                                    FRAUDULENT SUPPRESSION

       32.         Plaintiffs adopt and incorporate each and every allegation and averment set forth in the

foregoing paragraphs of this Complaint, as if they are fully set forth herein.

       33.         Plaintiffs alleged that Defendant had a duty to disclose material facts related to the

agreement between the parties and/or related to the Bill of Lading.

       34.         Plaintiffs allege that Defendant concealed several material aspects of the agreement

between the parties made the basis of this suit; specifically, Plaintiffs allege that Defendant added a

“$.60/lb” (sixty cents per pound) limitation to the Bill of Lading, as depicted in the clause set forth in

paragraph seven (7) above, following the Bill of Lading’s execution by Plaintiff, Ginger LaRue and did

not disclose to Plaintiffs it planned to do so, nor did Defendant disclose any liability protection options

nor give Plaintiffs the choice between them, nor did it disclose any limitations on Defendant’s liability

for damage to the goods.

       35.         By concealing the material aspects of the agreement between the parties, Defendant

concealed the true nature and contents of the Bill of Lading and/or the agreement between the parties

from Plaintiffs.

       36.         Plaintiffs were induced into entering into the agreement with Defendant by these

concealments; more specifically, Plaintiff, Ginger LaRue, was induced into executing the Bill of

Lading by these concealments.

       37.         As a result of said concealment by Defendant of the true nature and contents of the

agreement, Plaintiffs entered into an agreement with Defendant and Plaintiff, Ginger LaRue, executed
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the Bill of Lading, as aforesaid, resulting in transport of the goods in question by Defendant and

damage to said goods by Defendant, as set forth in paragraphs thirteen (13) through fifteen (15), above.

       38.      As set forth in paragraph eighteen (18), above, the instant action is being brought

within two (2) years of the actions alleged herein.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs demand judgment against the

Defendant in the principle sum of Seventy Thousand, Two-Hundred Forty-Five dollars ($70,245.00).

Plaintiffs also request such additional and appropriate relief which they are entitled.

                                              /s/ David M. Wilson
                                              DAVID M. WILSON (ASB-1797-n71d)
                                              JONATHAN B. METZ (ASB-1161-a47m)
                                              Attorneys for the Plaintiffs


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PLEASE SERVE DEFENDANT VIA CERTIFIED MAIL:

Defendants’ Address for Service:

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